                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION - FLINT

In re:

DAVID ANTHONY PALAZZOLO                                     Chapter 13
PAOLA PALAZZOLO                                             Case No. 13-33246-DOF
                                                            Hon. Daniel S. Opperman

                       Debtors.
                                  /

                 EX-PARTE MOTION FOR EXPEDITED HEARING ON
              DEBTOR’S MOTION FOR RELIEF FROM PAYMENT ORDER

         NOW COMES Debtor(s), David and Paola Palazzolo, by and through their attorneys,

OSIPOV BIGELMAN, P.C., and in support of their Ex-Parte Motion for an Expedited Hearing on

Debtor(s)’ Motion for Relief from Payment Order, states as follows:

         1.     The Debtors filed a Motion for Relief from Pay Order on January 17, 2019.

         2.     The Debtors request that an expedited hearing be scheduled in this matter so the

Debtors can avoid defaulting on obligations that are necessary for their health and well-being.

         WHEREFORE, the Debtors respectfully request that this Court grant their Ex-Parte Motion

for an Expedited Hearing on Debtor(s)’ Motion for Relief from Payment Order


                                             Respectfully submitted,

                                             OSIPOV BIGELMAN, P.C.

Date: January 17, 2019
                                             /s/Yuliy Osipov
                                             YULIY OSIPOV (P59486)
                                             ALEXANDER J. BERRY-SANTORO (P81545)
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In re:

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PAOLA PALAZZOLO                                            Case No. 13-33246-DOF
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                       Debtors.
                                  /

                       ORDER GRANTING EX-PARTE MOTION
                      FOR EXPEDITED HEARING ON DEBTOR’S
                    MOTION FOR RELIEF FROM PAYMENT ORDER

         Upon consideration of the Debtor’s Ex-parte Motion for Expedited Hearing on Debtor’s

Motion for Relief from Payment Order, and the Court being sufficiently advised in the premises:

         IT IS HEREBY ORDERED that the Debtors’ motion is granted.

         IT IS FURTHER ORDERED that the hearing on the Debtors’ Motion for Relief the

Payment Order be held on __________________, 2019 at __________ AM/PM.




                                           EXHIBIT A




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